       Case 8:07-cr-00432-JSM-E_J Document 102 Filed 05/06/08 Page 1 of 6 PageID 183
A 0 24% (Rev 06/05) Sheer 1 - Judgmenr in a Criminal Case


                             UNITED STATES DISTRICT COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         T A W A DnlISlON




UNITED STATES OF AMEIUCA

                                                                 CASE NUIMBER: 8:07-cr-432-T-30MSS
                                                                 USM NUMBER: 19718-018



1-1ENRY IUVERtl
                                                                 Defendant's Ahomey: Victor Martinez, cja

THE DEFENDANT

X pleaded guilty to count(s) ONE of the Indictment.
-
- pleaded no10 conrendere to count(s) which was accepted by the c o w .
- was found p iIty on count(s) after a plea of nor guilty.

TLTLE & SECTION                      NATURE OF OFFENSE                              OFFENSE ENDED                      COUNT

1 6 U.S.C. $9 70503(a), 70506(a), Conspiracy Lo Possess nitb Intent to              October 18. 2007                     One
and 70506(b);and 2 l U.S.C.       Distribute Five Kilograms or More of
4 960Cb)( 1)(B)(ii)               Cocaine m'l~ileAboard a Vesscl Subject
                                     to the Jurisdiction of the Unlted States


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The senLence is imposed pursuanr to che Senrencing
Reform Act of 1 984.

- Thc cicknilant has been found noc guilty on count(s)
S C'ounrcs) TWO of h e Indicnnent is dismissed on the morion of rhe United Sures.
-
1.1' IS k I,'K I HER ORDERED rhar [he defendant must notify rhe United States Attorney €or t h s district within 30 days of any change of
n m 2 , rziid~ncc,or mailing address until all fmcs, restitution, costi, and special assessments imposed by this judgrnsnr are fully paid.
If ordered to pay restitution, h e defendant must notify the court and United States Altomey o r any material change in economic
circumskmces.


                                                                                    Dare of lmposil~onofsentence: May 6, 2008




                                                                                    I.&~ED STATES DISTRICT JUDGE


                                                                                    DATE: May        b    ,2008
        Case 8:07-cr-00432-JSM-E_J Document 102 Filed 05/06/08 Page 2 of 6 PageID 184
A 0 2458 (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Csse)
Defendant:          HENRY RIVERA                                                                        Judgment - Page 2of 6
Case No.:           8:07-cr-432-T-30MSS

                                                                IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $9
3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         T h e defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and THlRTY-FIVE (135) MONTHS as to Count One of the Lndictmcnt.




-
X The court makes the fo1lon)inprecommendations to the Bureau of Prisons: Thc delkndanl shall be placed at FCI Coleman (FL):
if possible.



     The defendant is remanded to the custody ofthe United States Marsbal.
-l%e defendanl shall surrender h e United States Marshal for tbii district.
                                   to

          -at -arn1p.m. Qn -.
          -as notified by the United Stales Mi~rslwl
- The dctcndant shall s u m d c r for scrvlcc of scntcnr-cat the institutiondesignated by thc B u r c ~ uo f Pnsons
          -before2 p.m. on -.
          -as notified by the United States Marshal.
          -as notifiedby the Probation or Pretrial Services Office.


            I have executed his jud-ment as follows:




            Defendant delivered on                                             to
- at                                                                    ,with a certified copy of this judgment.


                                                                                    United States Marshal

                                                                         By:
                                                                                              Deputy United States Marshal
        Case 8:07-cr-00432-JSM-E_J Document 102 Filed 05/06/08 Page 3 of 6 PageID 185
A 0 2 4 5 8 (Rev. 06105) Shcct 3 - S u p ~ m i s dRelease (Judgment in a Criminal Casc)

Defendant:           H E N R Y RNERA                                                                               Judgnent - Page 3of 6
Case No.:            8:07-cr432-T-30MSS
                                                           SUPERVISED RELEASE

        Upon release from imprisonment, the dcfcndant shall be on supervised release for a term o C F N E (5)YEARS as to Count
One of the Indictment.

         The defendant must repon to the proballon office In the disuict to which the del'endant is released within 72 hours of release horn
the custody o f the Burcau o r Prisons.

The defendant shall not commit another federal. state. or I ~ c ncln r n e The defendan1 shall no^ unlawfully possess a conuolled substance.
I hc deicnddnt shall refram from any unlawvful use ol J L ~ n u ~ \ l l\ si dl b r t ~The
                                                                                       ~ ~ defendant
                                                                                            ~~       shall qubmi~lo onc drug test wnhin 15 d a y s
of release from ~mprisonmentand at least two peno:h drug ts\r\ tl~crcaftcr,as dctemtned by Lhe court.

          The defendant shall not possess a iircarnl. dcsrrucrii s d s ice.
                                                                        ~ o r an>-~ i h c dangerous
                                                                                          r         weapon.

          The defendant shall cooperate in thc iollcctlcln of D?.4 -15 d~rsitcj.b! tha probat~onofficer.


            Lf this judgmenr unposes a fine or restitution it is a condition of supenlised release that the defendant pay in accordance with the
            Schedule of Payments sheet ofthis judgment.

            The defendant must comply with the standard conditions rhar have been adopted by his coun as well as with any additional
            cond~tionson rhc artached page.

                                             STANDARD CONDITIONS OF SUPERVISION
            the dcfcndant shall not lcavc the judicial district without the permission of the court or probation officer,

            the defendant shall report to the probation uficer and shall submit a rrurhful and complctc witten report within [he firs[ 6ve days of each
            munth;

            the defendant shall answer ruth fully all inquiries by the prohurion officer and follow h e inskuctions of the probation o f h e r :

            [he defendanr shall support his or her dcpendcnts and meet other family responsibilities;

            [he defendant shall work regularly at a lawhi occupation. unless excused by the probation ofliccr tbr school~ng.&dining, or ocher
            acceptable reasons;

            [he defendanr shall notify the probation officer at l e a t ten days prior to any change in residence ur employment:

             he deFendant shall refrain From excessive use o f alcohol m d shall not purchase, possess, use, distribute. or adminisrer any controlled
            substance or any paraphmalia related to any conrrollcd substance, except as prescribed by tl physicim:

            rhe defendanr shall not frequent places whcrc controlled substances are illegally sdd, used. disrributed, or administered:

            [he dcfcndant shall not associate with any persons engaged in mimind activi~yand shall not associate with any person con\ icrcd of a
            tclony, unless granted pcrmission to do so by the probation officer,

            ihe defendant sliall permlt a prohation officer to visit him or her at any time at home or elsewhere and shall pennlr confiscation of any
            conrraband observed in plain view of the probation oflicn:

            ihe defendanc shall notify the probation officer within scvenry-rwo hours of being arrested or questioned by a law enforcement officer:

            the defendanr shall not cntcr Into any agreement to act as an inrmner or a special agent o r a law enforcement agency \v~tl~out
                                                                                                                                         the
            pcnnission o f the court: and
            as directed by the probation officer, the defendant shall notify third partis o f risks that may bc occasioned by the defendant's cri~nirralrecord
            or personal history or chancterisrics and shall perniit the probation officer to make such notificutions and to confirm ihc dcfcndanr's
            compliance w~thsuch notification requirement.
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A 0 2458 (Rev. 06105) Sheet 3C -Supervised Release (Judgment in a Criminal Case)

Defendant:        HENRY RIVERA                                                                              -
                                                                                                      ludgment Page 4of 6
Case No.:         8:07-cr432-T-3OMSS
                                        SPECIAL CON-DITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised rsleasc:


         Should the defendant be deported he/she shaU.not be allowed to re-enter the United States without the express permission of
         the appropriate governmental authority.

-
X        The defendant shall cooperate in the collection of DNA as directed by rbe probation officer
X.       The mandatory drug testing provisions shall apply p u r to~the Violent Crime ConQol Act The Court orders random drug
         testing not to exceed 104 tests per year.
       Case 8:07-cr-00432-JSM-E_J Document 102 Filed 05/06/08 Page 5 of 6 PageID 187
A 0 2458 (Rev 06/05) Shm 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)
 Defendant:         HENRY RIVERA                                                             Judgment - Page 5 of 6
Case No.:           S:O7-cr-432-T-3OMSS

                                            CRIILIINAL MONETARY PENALTIES

          7 h e defendant nus st pay ~ l l e~ o l acriminal
                                                   l        monetary penalties under the schedule acpaynenrs on Sheet 6.
                              Asscssrncnt                                                    Total Restitution

                                                                 Waived


          The determinationofratitution is deferred until -.     An Amended Judgment in a CriminaI Cuss (A0 245C) will
          be entered after such determination.
          The defendant must make restitution (including commmity restitution) to the following payees in the amount listed
          be10w .
          If the defendant m e e s a partial payment, each paye shall receive aa approximately proportioned paymenf unless
          spec+d otherwise m          priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. §
          3664(1),dl non-fcdd nctuns must be pad before the g t e d States.


 Name of Pavee                                                             Restitution Ordc rcd                 Priorihl or Percen taee




          Restituriun amount ordered pursuant to plea agreement $
          The defendant must ay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth  $after the date of the judgment,pumaat to 18 U.S.C.6 3612(0. All of the payment options on Shcn
          6 may be subject to penalties for delinquency and dehlt, pursurmt to 18 U.S.C. $3612(g).
          The c o w determined that the defendant does not have tbe ability to pay interest and it is ordered that:
                    the interest requirement is waived for fhe - fine - restitution.
                    the interest requirement for the     he         restitution is modified as follows:


* Findings for the total amount of losses are requid tmder Chapten 1 0 9 4 1 10,110& and 1 13A of Title 18 for the offenses committed
on m a h September 13,1994. but before.April 23-1 996.
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                            -
A 0 2458 (Rcv 06/05) Sheet 6 Schedule ofPayments (Judgment in a Criminal Case)

Defendant         HENRY RIVERA                                                                       J udgnlent - Page 6of 6
Case No.:          k07-cr-432-T-30MSS


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are d u e as follows:

         L         Lump sum payment of % 100.00 due immediately, balance due
                            -not later than                 .or
                            -in accordance -C, - D, - E or -F below; or
                  Payment to begin immediately (maybe combined with -C, -D, or -F below); or
                  Payment in equal
                   of       (e.g., months or years), to commence
                  judgment; or
                                                                                            I
                                                  (e.g., weekly1monthly, quarterly Installments of $
                                                                           days e.g., 30 or 60 days)e
                                                                                                                            over a period
                                                                                                                             date of this

         -        Payment in equal             (e.g., weekly, monthly, quarterly) installments of $
                               (e.g., months or years) to commence
                                                                                                            over a period of
                                                                                       (e.g. 30 or 60days)fier release from
                  irnprisonmeik to a term of supervision; or
                  Payment during the term of supervised release will commence within                  (e-g., 30 or 60 days)
                  after release from imprisonment. The court will set the payment plan based on an assessment of the
                  defendant's ability to pay at that time. or
                   Special instruct~onsregarding Lhe payment of cnrmnal monetary penal ties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties i s due during I risonment. All criminal monemy penalties, except those ayments made through the Federal
gureau of ~risons'~nma%inancial Responsibility Program, are made lo the clerk of &e court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and conespondiing payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof,subject to forfeiture, which are in tbe possession or control of the defendant or the defendant's
nominees.
Payments shaU be applied in the following ordw: ( I) assessment, (2)restitution principal, (3)restitution interest, (4) h e pnnc pa I , (5)
fine interesf (6) commuflity restitution, (7)penalties, and (8) costs,including cost ofprosecution and court costs.
